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IN THE UNITED sTATES DISTRICT coURT
FoR THE wEsTERN DIS'I‘RICT oF TENNESSEE ,,
! - :
WESTERN DIvIsIoN 03 JJL 5 PH 2 05

 

 

WILLIAM LYNN JOHNSON, SR.,
Plaintiff,
vs. No. 04»2933-D/An

MARK LUTTRELL, et al.,

Defendants.

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ORDER DENYING MOTION TO PROCEED §§ FQRMA PAQEEBIS
AND
ORDER TO FILE AMENDED COMPLAINT IN AFFIDAVIT FORM

 

Plaintiff William Lynn Johnson, Sr., booking number 04107647,
an inmate at the Shelby County Criminal Justice Complex (Jail)H

has filed this complaint under 42 U.S.C. § 1983, along with a

motion to proceed in fg;ma pauperi§. Plaintiff sues Shelby County
Sheriff Mark` Luttrell, Counselor Burns, unknown National

Association of the Advancement of Colored People (NAACP)
representatives, and unknown Shelby County Election Commission
representatives.

It is well settled that a complaint naming fictitious parties
as defendants is not adequate to commence an. action. unless a
subsequent amendment identifying the defendants is filed in

compliance with the relation-back requirements of Fed. R. Civ. P.

15(C). §§§ QOX Y, ILQQQNQY, 75 F.3d 230, 240 (6th Cir. 1996);

 

l The word prison is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

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'l'hls document entered on the docket sh"e
with Flu|a 58 andlor 79{a) FRCP on

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Bufalino v. Michigan Bell Tel. CO., 404 F.2d 1023, 1028 (6th Cir.

1968). Accordingly, the Court construes the complaint as naming
only Mark Luttrell and Counselor Burns as the defendants.

The Clerk is directed to record the defendants as Mark
Luttrell and Counselor Burns and delete any reference to NAACP
representatives and Election Commission representatives from the
docket. The Clerk shall not issue process or serve any papers
until further order of the Court.

Although the complaint lists only William Lynn Johnson, Sr. as
plaintiff, his allegations are on behalf of “All Others Similarly
Situated” at the Jail. No other prisoner signed the complaint or
submitted affidavits to proceed in §g;mg pauperis. Fed. Rule Civ.
P. ll requires that every pleading be signed by an attorney, or if
the party is not represented by an attorney, be signed by the
party. Accordingly, as Johnson, Sr. is the only plaintiff to
comply with Rule ll, he is the only plaintiff in this case.

Insofar as Johnson, Sr. is attempting to seek class
certification under Fed. R. Civ. P. 23(a)(4), he is not entitled to
file this case on behalf of any other inmate. £rg §§ prisoners are
not adequate class representatives able fairly to represent the

claims of the class. Inmatesl Washington gounty Jail v. Enqland,
516 F. Supp. 132 (E.D. Tenn. 1980), aff'd, 659 F.2d 1081 (6th Cir.

 

1981). Neither does plaintiff have a cause of action under § 1983
against any defendant based on his witnessing alleged violations of
the constitutional rights of other inmates. goon v. Ledbetter, 780

F.2d 1158, 1160-61 (5th Cir. 1986); Rogers v. Gilless, No.

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95-2220-Ml/Bre (W.D. Tenn. Apr. 28, 1995) (following Coon in
dismissing claims by jail detainee as frivolous). §§4 Jaco v.
Bloechle, 739 F.2d 239, 241 (6th Cir. 1984)(holding § 1983 cause of
action is personal to the injured party): Krum v. Sheppard, 255 F.
Supp. 994, 997 (W.D. Mich. 1966)(holding only an injured party has
standing to sue). Johnson, Sr. thus cannot assert any violations
of other inmates' rights.

Furthermore, the attempted class action interferes with the
Court's duty to apply § l997e(a) as a threshold matter to this
case. The Sixth. Circuit has held that 42 U.S.C. § 1997e(a)
requires a federal court to dismiss without prejudice whenever a

prisoner brings a prison conditions claim without demonstrating

that he has exhausted. his administrative remedies. Brown. v.
Toombs, 139 F.3d 1102, 1104 (6th Cir. 1998). This requirement

places an affirmative burden on prisoners of pleading particular
facts demonstrating the complete exhaustion of claims. Knuckles El
v. Toombs, 215 F.3d 640, 642 (6th Cir. 2000).

To the extent the complaint may be construed as containing a
motion for class certification, the motion is DENIED. Any other
inmate seeking to file a complaint must do so independently after
exhausting administrative remedies on the clainlhe wishes to raise.

Under the Prison Litigation Reform Act of 1995 (PLRA), 28
U.S.C. § l915(b), all prisoners bringing a civil action must pay
the full filing fee of $150 required by 28 U.S.C. § l9l4(a). The
in fgrmg_pauperis statute, 28 U.S.C. § 1915(a), merely provides the

prisoner the opportunity to make a "downpayment" of a partial

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filing fee and pay the remainder in installments. Plaintiff has
incurred the $150 filing fee by filing this complaint.2
Additionally, the PLRA enacted 28 U.S.C. § 1915(g) to limit
prisoners to filing three (3) cases that are dismissed as
frivolous. In the event a plaintiff receives three or more
“strikes,” he may not file further lawsuits in fg;ma pauperis,
unless he is under imminent danger of serious physical injury and
otherwise complies with the order restricting his filing
privileges.

The Court’s staff attorney recently sent Johnson, Sr. a copy
of the order of dismissal in Johnson v. Hawk. et al., No.
96-2568-G/A (W.D. Tenn.), which restricted the filing privileges of
“William Lynn Johnson," who in 1996 was a federal prisoner, but had
also been previously incarcerated as a Tennessee state prisoner.
By November of 1996, William Johnson had filed 29 lawsuits in the

Western District of Tennessee.3 This complaint does not list any

 

2 Plaintiff filed this complaint on November 16, 2004. Effective

February 7, 2005, the civil filing fee was increased to $250. Because this
action was filed prior to that date, the plaintiff is only liable for the $150
filing fee.

3 mm._l,_mttnell, No. 96~3194-€/\/ <w.n. Tenn. Feb. 2,
1998)(dismissing Biygg§ claims sua §an§§ as frivolous under 28 U.S.C. §
1915(e)(2)(B)(i) and entering judgment for defendants after non-jury trial on
claim under Federal Tort Claims Act);

gghpggnLjL_§amk, No. 96-2568-G/A (W.D. Tenn. Nov. 18, 1996)(refusing
permission to file in forma paupe;i§ under 28 U.S.C. § 1915(g) and dismissing as
frivolous under 28 U.S.C. § 1915(e)(2)(B)(i));
Qghnsgn y‘ ngst, No. 93-2122-M1/A (W.D. Tenn. Feb. ll,
1993)(dismissing as frivolous under 28 U.S.C. § l915(d));
, No. 92-2978-4/A (W.D. Tenn. Dec. 2, 1992){dismissing
as frivolous under 28 U.S.C. § 1915(d));
` ’ , No. 91-2382-H/B (W.D. Tenn. July 3,
l99l)(granting defendants’ motion to dismiss or for summary judgment on Biy§ns

claim);
gghg§gg__y&__gilligm, No. 91»2111-G/A (W.D. Tenn. Oct. 21,
1991)(granting defendants' motion for summary judgment on §iy§g§ claim);

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prior litigation in this district court. Plaintiff checked “No” in

 

Johnson v. Ballin, No. 90-2302-Tu/B (W.D. Tenn. Mar. 19,
1991)(granting motion to dismiss by private attorney sued under section 1983);

Johnson v. Owens, No. 89-2622~G/B (W.D. Tenn. Oct. 10, 1989)(§pp
sponte dismissal of section 1983 action seeking relief only available under
section 2255);

Johnson v. Lebcanc, No. 89-2589-G/A (W.D. Tenn. Oct. 4,
1989)(dismissal of a section 1983 action against the investigators and.witnesses
in federal criminal prosecution, case number 89-20059-H);

Johnson v. Crabtree, No. 86-2587-H (W.D. Tenn. April 21, lBB?}(§pg
sponte grant of summary judgment to defendants for failure to state a claim);

Johnson v. Chandler, No. 86-2535-G/B (W.D. Tenn. July 17, 1986)(§§§
sponte dismissal as frivolous under section 1915(d));

Johnson v. MacDonald, No. 85-3049-H/A (W.D. Tenn. Mar. 21,
l986)(granting defendant's motion for summary judgment);

Johnson v. Dutton, No. 84-2776-H/B (W.D. Tenn. June 13,
l986)(granting petition for writ of habeas corpus in state murder conviction);

Johnson v. Dutton, No. 84-2295-M/A (W.D. Tenn. Aug. 20,
1984)(dismissing petition for writ of habeas corpus);

Johnson v. Barksdale, No. 82-2533-H (W.D. Tenn. Nov. 24,
1982)(denying petition for writ of habeas corpus);

Johnson v. Barksdale, No. 82-2514"W (W.D. Tenn. May 28,
l985)(dismissing section 1983 case as barred by res judicata);

Johnson v. Barksdale, No. 82-2498-H (W.D. Tenn. July 23, 1982}(§pg
sponte dismissing section 1983 case);

gohnson v. Barksdale, No. 82-2407-M (W.D. Tenn. Aug. 15,
1985)(granting plaintiff's motion for injunction regarding telephone use in
county jail);

Johnson v. Barksdalp, No. 82-2256 (W.D. Tenn. Nov. 19,
1984)(dismissing section 1983 property deprivation case);

Johnson v. Barksdale, No. 81-2961-W (W.D. Tenn. Jan. 28,
1985)(finding for defendants after non-jury' trial on section 1983 medical
treatment claims);

Johnson v. Barksdale, No. 81-2725-M (W.D. Tenn. Aug. 23,
1982)(dismissing section 1983 claims of retaliation for'writ-writing activities);

Johnson v. Barksdale, No. 81*2311-M (W.D. Tenn. Mar. 26,
1982)(dismissing after entry of consent decree settling section 1983 case);

Johnson v. Barksdale, No. 81-2202-M (W.D. Tenn. Aug. 15, l985)(entry
of judgment awarding plaintiff damages);

Johnson v. Barksdale, No. 81-2187-H (W.D. Tenn. Mar. 30,
l981)(granting plaintiff's motion for voluntary dismissal);

Johnson v. Barksdale, No. 81-2023-M1 (W.D. Tenn. Aug. 27,
1992)(dismissing section 1983 claims and entering judgment for defendants after
non*jury trial);

Johnson v. Baucum, No. 80-2407-W (W.D. Tenn. Oct. 21,
1980)(dismissing section 1983 action);

M, No. 80-2048-W (W.D. Tenn. Jan. 18,
1980)(dismissing frivolous section 1983 action against private attorney
previously sued in case number 80-2020-W);

Johnson v. Weinman, No. 80-2020-W (W.D. Tenn. Jan. 18,
l980)(dismissing frivolous section 1983 action against state judge and private
attorney);

Johnson v. Maples, No. 79-2787-M (W.D. Tenn. Jan. 19,
1982)(dismissing section 1983 action as barred by statute of limitations).

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response to the question, “[h]ave you begun other lawsuits in state
or federal court dealing with the same facts involved in this
action or otherwise relating to your imprisonment?” In response to
the request for information on other lawsuits, Johnson wrote “N/A.”
The Court, therefore, requires additional information before
determining if William Lynn Johnson, Sr. is entitled to pay his
filing fee in installments.

Accordingly, the plaintiff is directed to file an amended
complaint within twenty (20) days of the entry of this order,
submitted in affidavit form, prepared by attaching the attestation
required by 28 U.S.C. § 1746, stating the following information
under penalty of perjury:

1. his date of birth;

2. all previous convictions;

3. all identifying prisoner numbers which have been
assigned to him, including but not limited to the
identification number for the Tennessee Offender
Management System, his State identification number,
and his Bureau of Prisons registration number; and

4. all previous lawsuits regarding Jail and prison
conditions to which he was a party.

The Court will revisit the issue of plaintiff's right to
proceed pp forma pauperis and entitlement to pay the $150 filing
fee in installments after its receipt and review of the amended
complaint. Failure to timely file the amended complaint or
otherwise comply with this order will result in the complaint being

dismissed.

IT rs so oRDERED this BO`PL`

 

UNI ED STATES DISTRICT JUDGE

 

ISTRIC COURT - WESTRNEDT"ISIC oF TENNESSEE

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02933 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

William Lynn Johnson
SHELBY COUNTY JAIL
04107647

201 Poplar Ave.

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

